Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 1 of 8




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                            CASE NO.:

 GABRIELA URIAS, individually,

        Plaintiff,

 v.

 ALLIANCEONE RECEIVABLES
 MANAGEMENT, INC.,

       Defendant.
 _______________________________________/

                                           COMPLAINT

        Plaintiff GABRIELA URIAS (“Plaintiff”), by and through counsel, seeks redress for the

 illegal practices of Defendant ALLIANCEONE RECEIVABLES MANAGEMENT, INC.

 (“Defendant”), to wit, for Defendant’s violations of 15 U.S.C §1692, the Fair Debt Collection

 Practices Act (the “FDCPA”), and Florida Statute § 559.551, the Florida Consumer Collection

 Practices Act (the “FCCPA”), and in support thereof, Plaintiff states the following:

                                        INTRODUCTION

        1.      Section 1692f of the FDCPA states, “[a] debt collector may not use unfair or

 unconscionable means to collect or attempt to collect any debt.” 15 U.S.C §1692f. Thereafter,

 §1692f codifies a non-exhaustive series of acts that explicitly violate the section. Accordingly, a

 debt collector will commit an express violation of §1692f by attempt to collect “any amount

 (including any interest, fee, charge, or expense incidental to the principal obligation) unless such

 amount is expressly authorized by the agreement creating the debt or permitted by law. 15 U.S.C

 §1692f(1) (emphasis added). Moreover, it is also an express violation of the FDCPA for a debt



                                             Page 1 of 8
Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 2 of 8




 collector to falsely represent either: “(A) the character, amount, or legal status of any debt; or (B)

 any services rendered or compensation which may be lawfully received by any debt collector for

 the collection of a debt.” 15 U.S.C. 1692e(2).

         2.      Similarly, pursuant to the FCCPA, it is unlawful for a debt collector to: “[c]laim,

 attempt, or threaten to enforce a debt when [the debt collector] knows that the debt is not legitimate,

 or assert the existence of some other legal right when such person knows that the right does not

 exist.” Fla. Stat. § 559.72(9).

         3.      As set forth in more detail below, Defendant violated the FDCPA by utilizing unfair

 and/or deceptive practices and false and/or misleading statements in attempting to collect a

 consumer debt from Plaintiff, whereby: (1) Defendant violated §1692f(1) of the FDCPA by

 wrongfully seeking to collect from Plaintiff fees which Defendant could not legally collect; (2)

 Defendant violated §1692e(2) of the FDCPA by falsely representing to Plaintiff that the amount

 of the consumer debt in question included said unlawful fees; and (3) Defendant violated the

 FCCPA, to wit, Fla. Stat. § 559.72(9), by attempting to collect funds that Defendant knew could

 not be legitimately demanded.

                                   JURISDICTION AND VENUE

         1.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and pursuant to

 15 U.S.C. § 1692k. Supplemental jurisdiction exists for state law claims pursuant to 28 U.S.C. §

 1367

         2.      Venue in this District is proper because Plaintiff resides in this District and

 Defendant does business in this District.




                                              Page 2 of 8
Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 3 of 8




                                              PARTIES

     1. Defendant is a foreign for-profit Corporation existing under the laws of the State of

         Pennsylvania, with its principal place of business located in Trevose, Pennsylvania.

         2.      Plaintiff a Florida citizen of the State of, residing in Broward County, Florida.

         3.      Defendant engages in interstate commerce by regularly using telephone and mail

 in a business whose principal purpose is the collection of debts.

         4.      At all times material, Defendant was acting as a debt collector in respect to the

 collection of Plaintiff’s debts.

                                    FACTUAL ALLEGATIONS

         5.      On October 10, 2015, Plaintiff knowingly agreed to pay the Florida Department of

 Transportation (the “Creditor” or “FDOT”) for the use and/or enjoyment of certain roadways,

 whereby Plaintiff knew that she would be obligated to pay a toll (based on usage) and an additional

 charge for opting to have such toll billed to the address associated with her vehicle’s license plate

 (collectively, “October’s Toll Charges”).

         6.      On December 15, 2015, Plaintiff knowingly agreed to pay FDOT for the use and/or

 enjoyment of certain roadways, whereby Plaintiff knew that she would be obligated to pay a toll

 (based on usage) and an additional charge for opting to have such toll billed to the address

 associated with her vehicle’s license plate (collectively, “December’s Toll Charges”).

         7.      The sum of October’s Toll Charges and December’s Toll charges is $14.10.

         8.      October’s Toll Charges and December’s Toll Charges (collectively, the “Consumer

 Debt”) are financial obligations Plaintiff incurred primarily for personal purposes.




                                              Page 3 of 8
Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 4 of 8




         9.      Accordingly, the Consumer Debt a “debt” governed by the FDCPA1 and FCCPA.2

         10.     Plaintiff is a “consumer” within the meaning of the FDCPA.3

         11.     Defendant is a for-profit consumer debt collection company and is registered as

 such within the State of Florida.

         12.     Defendant is a “debt collector” as defined by the FDCPA4 and FCCPA5

         13.     On or about March 22, 2016, Defendant sent a collection letter to Plaintiff seeking

 payment on the Consumer Debt (the “Collection Letter”). A copy the Collection Letter is attached

 hereto as Exhibit “A.”

         14.     In the Collection Letter, Defendant stated that FDOT had “placed [Plaintiff’s]

 account for unpaid toll(s) with [Defendant] for immediate collection effort,” and that “[t]he ‘Total




 1
    See, U.S.C §1692a(5) (“[t]he term ‘debt’ means any obligation or alleged obligation of a
 consumer to pay money arising out of a transaction in which the money, property, insurance, or
 services which are the subject of the transaction are primarily for personal, family, or household
 purposes, whether or not such obligation has been reduced to judgment”).
 2
    See, § 559.55(6), Fla. Stat. (“‘[d]ebt’ or ‘consumer debt’ means any obligation or alleged
 obligation of a consumer to pay money arising out of a transaction in which the money, property,
 insurance, or services which are the subject of the transaction are primarily for personal, family,
 or household purposes, whether or not such obligation has been reduced to judgment”).
 3
   See, 15 U.S.C §1692a(3) (“The term ‘consumer’ means any natural person obligated or allegedly
 obligated to pay any debt”).
 4
    See, 15 U.S.C §1692a(6) (“[t]he term “debt collector” means any person who uses any
 instrumentality of interstate commerce or the mails in any business the principal purpose of which
 is the collection of any debts, or who regularly collects or attempts to collect, directly or indirectly,
 debts owed or due or asserted to be owed or due another”).
 5
   See, § 559.55(7), Fla. Stat. (“‘[d]ebt collector’ means any person who uses any instrumentality
 of commerce within this state, whether initiated from within or outside this state, in any business
 the principal purpose of which is the collection of debts, or who regularly collects or attempts to
 collect, directly or indirectly, debts owed or due or asserted to be owed or due another. The term
 ‘debt collector’ includes any creditor who, in the process of collecting her or his own debts, uses
 any name other than her or his own which would indicate that a third person is collecting or
 attempting to collect such debts”).


                                               Page 4 of 8
Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 5 of 8




 Balance Due’ indicated [by the Collection Letter] is the amount of the debt as of the date of this

 letter.” See, the Collection Letter.

         15.     In the Collection Letter, under the heading “ACCOUNT INFORMATION,”

 Defendant stated the “TOTAL BALANCE DUE” was $22.63 and itemized such as being the sum

 of a $14.10 “Fine,” a $5.00 “Base Fee,” and a $3.53 “Collection Fee.” See, the Collection Letter.

         16.     On information and belief, the $5.00 “Base Fee” is a flat-rate charge assessed by

 Defendant and is not expressly authorized by the agreement that created the Consumer Debt, nor

 is such permitted by law.

         17.     On information and belief, the $3.53 “Collection Fee” is a percent based charged,

 to wit, 25% of the Consumer Debt, and is not expressly authorized by the agreement that created

 the Consumer Debt, nor is such permitted by law.

                                          COUNT I.
                                  VIOLATIONS OF THE FDCPA

         18.     Plaintiff incorporates by reference paragraphs 5-17 of this Complaint as though

 fully stated herein.

         19.     In determining whether a debt collector has violated the FDCPA, the debt

 collector’s actions are considered through the least sophisticated consumer lenses. See, Jeter v.

 Credit Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985) (holding that, “because we believe that

 the FDCPA's purpose of protecting consumers is best served by a definition of deceive that looks

 to the tendency of language to mislead the least sophisticated recipients of a debt collector's letters

 and telephone calls, we adopt the [] standard of least sophisticated consumer…” (emphasis

 added) (internal quotations and citations omitted)).




                                              Page 5 of 8
Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 6 of 8




        20.     Accordingly, the Collection Letter violated 15 U.S.C. §§ 1692e(2) and 1692f(1)

 because it patiently mischaracterized Plaintiff’s true financial obligation and by attempting to

 collect an amount without the legal authority to do so.

        21.     Defendant stated that the “TOTAL BALANCE DUE” demanded in the Collection

 Letter was the “amount of the debt” owed by Plaintiff. Yet, the “TOTAL BALANCE DUE”

 included fees which Defendant could not lawfully impose or collect, to wit, a $5.00 “Base Fee”

 and $3.53 “Collection Fee.” See, Quinteros v. MBI Associates, Inc., 999 F. Supp. 2d 434, 437

 (E.D.N.Y. 2014) (providing an explanation of the circumstances governing whether fees assessed

 by the debt collector are permissible under the FDCPA).

        22.     Out of the $22.53 which Defendant claimed to be “the debt,” and not withstanding

 what is arguably a mislead and overly nonspecific description, only the $14.10 “Fine” portion of

 the “TOTAL AMOUNT DUE” accurately represents Plaintiff’s true obligation to FDOT. Thus,

 Defendant’s claim that “the amount of the debt” is the “Total Balance Debt” is not only false, but

 also unlawful.6

        23.     In light of the preceding, Defendant violated 15 U.S.C. § 1692e(2) by falsely

 representing the amount needed to satisfy the Consumer Debt, and 15 U.S.C. § 1692f(1) by

 attempting to collect an amount which was not expressly authorized by contract or statute.




 6
   See, 15 U.S.C. 1692e(2) (“the following conduct is a violation of this section… [t]he false
 representation of: (A) the character, amount, or legal status of any debt; or (B) any services
 rendered or compensation which may be lawfully received by any debt collector for the collection
 of a debt”); 15 U.S.C. 1692f (“[w]ithout limiting the general application of the foregoing, the
 following conduct is a violation of this section… [§§](1) The collection of any amount (including
 any interest, fee, charge, or expense incidental to the principal obligation) unless such amount is
 expressly authorized by the agreement creating the debt or permitted by law”).


                                            Page 6 of 8
Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 7 of 8




                                         COUNT II.
                                  VIOLATION OF THE FCCPA

         24.     Plaintiff incorporates by reference paragraphs 5-17 of this Complaint as though

 fully stated herein.

         25.     The $5.00 “Base Fee” and the $3.53 “Collection Fee” Defendant sought to collect

 from Plaintiff was an attempt to enforce a debt that Defendant knew to be without statutory or

 contractual authority.

         26.     On information and belief, the “Base Fee” and “Collection Fee” demanded by

 Defendant is an attempt to wrongfully recover profits from Plaintiff by portraying such as either

 part of the Consumer Debt or as having been assessed by FDOT. See generally, Daniel v. Select

 Portfolio Servicing, LLC., 2016 WL 518721 (S.D. Fla. 2016) (whereby plaintiff was found to have

 stated claim against defendant for violation of the FCCPA, to wit, Fla. Stat. § 559.72(9), where

 plaintiff alleged that defendant charged her $15.00 for each property inspection although defendant

 actually only incurred $12.00 expense for those inspections, and that $1.50 charge for

 “miscellaneous corporate disbursement” was not attributable to any service rendered).

         27.     Therefore, in light of the preceding, Defendant violated Fla. Stat. § 559.72(9) by

 seeking to collect illegitimate fees from Plaintiff, whereby Defendant knew it possessed no

 authority to collect funds in excess of the Consumer Debt, to wit, the aforementioned “Base Fee”

 and “Collection Fee.”

                                   DEMAND FOR JURY TRIAL

         28.     Plaintiff respectfully demands a trial by jury on all issues so triable.




                                              Page 7 of 8
Case 0:16-cv-60786-CMA Document 1 Entered on FLSD Docket 04/09/2016 Page 8 of 8




                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against

 Defendant, awarding Plaintiff the following relief:

        (a)     Statutory and actual damages, as provided under 15 U.S.C. §1692k, for the FDCPA
                violations committed by Defendant in attempting to collect the Consumer Debt.

        (b)     Statutory and actual damages, as provided under § 559.77(2), for the FCCPA
                violations committed by Defendant in attempting to collect the Consumer Debt.

        (c)     Attorneys’ fees and costs incurred in bringing this action, as provided by both 15
                U.S.C. §1692k and Fla. Stat. § 559.77(2); and

        (d)     Any other relief that this Court deems appropriate and just under the circumstances.


        DATED: April 9, 2016

                                                  Respectfully Submitted,

                                                   /s/ Thomas J. Patti                        .
                                                  THOMAS J. PATTI, ESQ.
                                                  Florida Bar No.: 118377
                                                  E-mail:    tpatti@thomasjohnlaw.com
                                                  Thomas-John Law, P.A.
                                                  110 SE 6th Street, Suite 1700
                                                  Fort Lauderdale, Florida 33301
                                                  Phone:     877-575-0010
                                                  Fax:       954-507-9975

                                                             AND

                                                   /s/ Jibrael S. Hindi                       .
                                                  JIBRAEL S. HINDI, ESQ.
                                                  Florida Bar No.: 118259
                                                  E-mail:      jibrael@jibraellaw.com
                                                  The Law Offices of Jibrael S. Hindi
                                                  110 SE 6th Street, Suite 1700
                                                  Fort Lauderdale, Florida 33301
                                                  Phone:       954-907-1136
                                                  Fax:         844-542-7235

                                                  COUNSEL FOR PLAINTIFF



                                            Page 8 of 8
